~AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case                                                          (NOTE: Identify Changes with Asterisks (*»
          Case
           Sheet I5:08-cr-50026-TLB                   Document 168               Filed 05/27/10            Page 1 of 7 PageID #: 499

                                           UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                                  ARKANSAS

          UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL CASE
                               v.
                                                                                   Case Number:                   5:08CR50026-007
                      JOSE BARRAGAN
                                                                                   USMNumber:                     08134-010
Date of Original Judgment: January 23,2009                                         Kristin Pawlik
(Or Date of Last Amended Judgment)                                                 Defendant's Attorney

Reason for Amendment:
D Correction of Sentence on Remand (IS U.S.C. 3742(t)(1) and (2»                   D Modification of Supervision Conditions (IS U.S.C. §§ 3563(c) or 35S3(e»
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   D Modification of Imposed Term of Imprisonment for Extraordinary and
    P.35(b»                                                                            Compelling Reasons (IS U.S.C. § 35S2(c)( I»
D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»               D Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                       to the Sentencing Guidelines (IS U.S.C. § 35S2(c)(2»
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                   D Direct Motion to District Court Pursuant D 2S U.S.C. § 2255 or
                                                                                     D IS U.S.C. § 3559(c)(7)
                                                                                   D Modification of Restitution Order (IS U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) Five (5) of the Indictment on May 15,2008
D pleaded nolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                               Offense Ended

21 U.S.c. § 841(a)(I) and           Distribute Methamphetamine                                                         02/07/2008                      5
18 U.S.c. § 2




       The defendant is sentenced as provided in pages 2               _ _ _ _7'--_ _ _ of this judgment, with the court considering the
sentencing guidelines as non-binding and advisory only.
D The defendant has been found not guilty on count(s)
X Count(s)    One (1), Three (3) and Four (4)    D is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   May 24, 2010
                                                                                   Date of Imposition of Judgment

                                                                                   lSI Jimm Larry Hendren
                                                                                   Signature of Judge
                                                                                   Honorable Jimm Larry Hendren, Chief United States District Judge
                                                                                   Name and Title of Judge

                                                                                   May 24, 2010
                                                                                   Date
          Case 5:08-cr-50026-TLB                    Document 168            Filed 05/27/10    Page 2 of 7 PageID #: 500
AO 245C       (Rev, 06/05) Amended Judgment in a Criminal Case
              Sheet 2 Imprisonment                                                                     (NOTE: Identify Changes with Asterisks   (.»
                                                                                                  Judgment - Page       2      of          7
  DEFENDANT:                      JOSE BARRAGAN
  CASE NUMBER:                    5:08CR50026-007

                                                                    IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total tenn of      thirty (30) months




       The court makes the following recommendations to the Bureau of Prisons:




  X    The defendant is remanded to the custody ofthe United States Marshal.

  D    The defendant shall surrender to the United States Marshal for this district:

          D     at                                     D     a,m.     D   p.m.   on

          D     as notified by the United States Marshal.

  D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D     before 2 p.m. on

          D     as notified by the United States Marshal.

                as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
  I have executed this judgment as follows:




       Defendant delivered on           ________________________________ to

  a _______________________________ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL

                                                                            By _____________________________________
                                                                                             DEPUTY UNITED STATES MARSHAL
AO 245C Case
          (Rev. 5:08-cr-50026-TLB
                06/05) Amended Judgment in a Criminal Case
                                                Document   168            Filed 05/27/10          Page 3 of 7 PageID #: 501
          Sheet 3 - Supervised Release                                                                       (NOTE: Identify Changes with Asterisks (*»
                                                                                                         Judgment-Page         3      of         7
DEFENDANT:                  JOSE BARRAGAN
CASE NUMBER:                5:08CR50026-007
                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:          three (3) years




        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
o         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
X         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

0*        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        I f this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
    1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
    3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)   the defendant shall support his or her dependents and meet other family responsibilities;
    5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
    6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)   the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation officer;
10)      the defendant shall Rermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record, personal hIstOry, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant's
AO 245C        (Rev. 06/05) Amended Judgment in a Criminal Case
          Case
            Sheet5:08-cr-50026-TLB
                 3C Supervised Release              Document 168          Filed 05/27/10         Page 4 (NOTE:
                                                                                                        of 7 PageID             with Asterisks (.»
                                                                                                                           #: 502
                                                                                                               Identify Changes
                                                                                                        Judgment-Page       4     of         7
DEFENDANT:                    JOSE BARRAGAN
CASE NUMBER:                  5:08CR50026-007

                                            SPECIAL CONDITIONS OF SUPERVISION


          1.         In addition to the mandatory drug testing requirements, the defendant shall comply with any referral deemed appropriate by
                     the U.S. Probation Officer for in-patient or out-patient evaluation, treatment, counseling or testing for substance abuse.

          2.         The defendant shall submit his person, residence, place of employment, and vehicle to a search conducted by the United
                     States Probation Office at a reasonable time and in a reasonable manner based uRon reasonable suspicion of evidence of
                     violation of any condition of supervised release. The defendant shall warn any other residents that their premises may be
                     subject to search pursuant to thIs condition. Failure to submit to a search may be grounds for revocation.
AO 245C Case
          (Rev. 5:08-cr-50026-TLB               Document
                06/05) Amended Judgment in a Criminal Case 168          Filed 05/27/10         Page 5 of 7 PageID #: 503
          Sheet 5 Criminal Monetary Penalties                                                             (NOTE: IdentifY Changes with Asterisks (0»
                                                                                                  Judgment - Page       5     of     _ _"""7_ __
DEFENDANT:                     JOSE BARRAGAN
CASE NUMBER:                   5 :08CR50026·007
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                      Fine                                Restitution
TOTALS           $ 100.00                                      $     5,000.00                         $ ·0·


o The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paId.

Name of Payee                             Total Loss*                        Restitution Ordered                    Priority or Percentage




TOTALS
                                  $--------------­                       $


o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U .S.c. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     X the interest requirement is waived for       X fine         o restitution.
     o the interest requirement for the      0    fine     o restitution is modified as follows:

* Findings for the total amount oflosses are re'luired under Chapters 109A, 110, II OA, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
AO 245C      (Rev. 06105) Amended Judgment in a Criminal Case
          Case
            Sheet5:08-cr-50026-TLB
                 6 Schedule of Payments           Document 168             Filed 05/27/10         Page 6 (NOTE:
                                                                                                          of 7 PageID       #: 504
                                                                                                                Identify Changes with Asterisks (*»
                                                                                                        Judgment - Page       6     of        7
DEFENDANT:                  JOSE BARRAGAN
CASE NUMBER:                5 :08CR50026-007


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties shall be due as follows:

A    X     Lump sum payment of $          5,100.00              due immediately, balance due

           o not later than                                         , or
           X    in accordance with      D C,       D D,         D   E,or    X F below; or
B    0     Payment to begin immediately (may be combined with              DC,        D D, or     0 F below); or
c 0        Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                        over a period of
          _ _ _ _ _ (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:

           Ifnot paid immediately, any unpaid financial penalty imposed shall be paid during the period ofincarceration at a rate of not less
           than $25.00 quarterly, or 10% of the defendant's quarterly earnings, whichever is greater. After incarceration, any unpaid financial
           penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than 10% of the
           aefendant's net monthly household income, but in no case less than $200.00 per month, with the entire balance to be paid in full one
           month prior to the termination of supervised release.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D The defendant shall pay the following court cost(s):
D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
AO 245B     (Rev. 09/08) Judgment in a Criminal Case
          Case
           Sheet 75:08-cr-50026-TLB
                  - Denial of Federal Benefits         Document 168            Filed 05/27/10                       Page 7 of 7 PageID #: 505
                                                                                                                        Judgment -                 Page                   of          7
DEFENDANT:                   JOSE BARRAGAN
CASE NUMBER:                 5:08CRS0026-007
                                                   DENIAL OF FEDERAL BENEFITS
                                              (For Offenses Committed On or After November 18,1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.c. § 862

          1T IS ORDERED that the defendant shall be:

X    ineligible for all federal benefits for a period of          ...five (5!y~ars_

o ineligible for the following federal benefits for a period of
     (specify benefit(s))                                                             .. - - .......   -~~. . . . . ._ - - -     .




                                                                                 .... ._ - _ . . . .     -.---..........- - -   ...   ~   ...   _. __........__.. _ - - - - - _ ...


                                                              -----   .... ~   ~~~.--------.--               ....   -----~.---                   ............- -   _ . _ - - .........._ - ­


                                                                        OR
o Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, 1T IS
     ORDERED that the defendant shalT be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     1T IS ORDERED that the defendant shall:

o be ineligible for all federal benefits for a period of
o be ineligible for the following federal benefits for a period of
     (specify benefit(s))




            successfully complete a drug testing and treatment program.

     o      perform community service, as specified in the probation and supervised release portion of this judgment.

            IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
            judgment as a requirement for the reinstatement of eligibility for federal benefits.



                   Pursuantto 21 U.S.C. § 862(d), this denial offederal benefits does not include any retirement, welfare, Social Security,
health, disability? veterans benefit, public housing, or other similar benefit, or any other benefit for which ~ayments or services are
required for eligibility. The clerk is responsible for sending a copy ofthis page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
